            Case 1:20-cv-04396-JPC Document 8 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          10/21/2020
---------------------------------------------------------------------- X
                                                                       :
PAMELA WILLIAMS, on behalf of herself and all                          :
others individually situated,                                          :
                                                                       :
                                    Plaintiff,                         :     20-CV-4396 (JPC)
                                                                       :
                  -v-                                                  :         ORDER
                                                                       :
CURALLUX, LLC,                                                         :
                                                                       :
                                    Defendant.                         :
                                                                       X
----------------------------------------------------------------------

JOHN P. CRONAN, United States District Judge:

        The Complaint in this action was filed on June 9, 2020. On September 11, 2020, the

Honorable Edgardo Ramos, United States District Judge, ordered Plaintiff to serve Defendant by

October 12, 2020, and notified Plaintiff that if she failed to do so, the case would be dismissed

without prejudice. (Dkt. 5.) After this case was reassigned to the undersigned, the Court directed

Plaintiff to file proof of service by October 16, 2020, and stated that failure to do so would result

in dismissal of the Complaint. (Dkt. 7.) Plaintiff did not file anything by that deadline.

        Accordingly, the Complaint is DISMISSED without prejudice pursuant to Rule 4(m) of

the Federal Rules of Civil Procedure. Any pending motions are moot. All conferences are

canceled. The Clerk of Court is directed to close the case.

        SO ORDERED.

Dated: October 21, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                 United States District Judge
